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                                                                     July 18, 2024


VIA ECF

The Hon. James M. Wicks
United States Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

Re:     Alloway, et al. v. Bowlero Corp. et al., Case No. 2:24-cv-04738-JMW
        Intent to File Rule 12(b) Motion

Dear Judge Wicks:

       On behalf of Defendants Bowlero Corp., AMF Bowling Centers, Inc., and Bowlmor AMF
Corp. (collectively “Defendants”) in the above-captioned Action, I write to inform the Court that
Defendants intend to file Rule 12(b) motions to dismiss and respectfully request the assignment of
a United States District Judge to the Action, pursuant to Administrative Order No. 2023-23.

        Respectfully submitted,

        /s/ Hope D. Skibitsky
        Hope D. Skibitsky




         quinn emanuel urquhart & sullivan, llp
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